Case 5:04-cr-00028-KDB-DSC   Document 175   Filed 07/11/06   Page 1 of 6
Case 5:04-cr-00028-KDB-DSC   Document 175   Filed 07/11/06   Page 2 of 6
Case 5:04-cr-00028-KDB-DSC   Document 175   Filed 07/11/06   Page 3 of 6
Case 5:04-cr-00028-KDB-DSC   Document 175   Filed 07/11/06   Page 4 of 6
Case 5:04-cr-00028-KDB-DSC   Document 175   Filed 07/11/06   Page 5 of 6
Case 5:04-cr-00028-KDB-DSC   Document 175   Filed 07/11/06   Page 6 of 6
